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                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION


 UNITED STATES OF AMERICA


 V.                                                CASE NO. CR416-307


 TYRONE WILLIS, JR.,

       Defendant.




                                         ORDER


      Before the Court is the Defendant Tyrone Willis, Jr.'s Motion

to Amend/Correct Judgment (Doc. 49), which the                   Government opposes

(Doc. 52). For the following reasons. Defendant's motion (Doc. 49)

is DISMISSED IN PART and DENIED IN PART.


      On January 1, 2017, Defendant pleaded guilty to possession of

marijuana with intent to distribute and possession of a firearm by a

convicted felon.      On     May   1, 2017,      Defendant    was sentenced to         110

months' imprisonment. (Doc. 41; Doc. 43 at 2.) The Court ordered

Defendant's       sentence    to    be    served    concurrently       to    the   state

probation     revocation      Defendant     was     serving     in    Chatham      County

Superior Court Docket Number CR 11-1442-J6. (Doc. 43 at 2.) Now,

Defendant requests that the Court ^''order [his] federal sentence to

run concurrently as [his] state sentence." (Doc. 49 at 1.)

      The    Government       argues     that    Defendant's     motion      should      be

dismissed,    in    part,    because     this    Court   does   not   currently        have

authority    to    modify    Defendant's        sentence.    (Doc.    49    at   2.)   The
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Government is correct that the Court does not have the authority to

modify    defendant's       sentence       at    this    time.    18     U.S.C.    §   3582(c);

United States v. Phillips^            597 F.3d 1190, 1194-95 (11th Cir. 2010)

("The    authority    of     a    district       court    to     modify    an     imprisonment

sentence     is   narrowly       limited    by    statute.").       Granting       Defendant's

request, however, would not require the Court to modify his current

sentence.     The   Court    already       ordered       that ''[defendant's]          sentence

shall be served CONCURRENTLY to the state probation revocation he is

serving in Chatham County Superior Court Docket Number CRll-1442-

J6." (Doc. 43 at 2.) Even so, as the Government notes. Defendant has

provided no evidence that the BOP has failed to correctly implement

his sentence. (Doc. 52 at 2.) Accordingly, Defendant's motion (Doc.

49) is DENIED.

        To the extent Defendant's motion is requesting credit for time

served, it is due to be dismissed. The BOP, not the Court, possesses

the authority to       determine       the       manner in       which    credit for      prior

custody is applied toward a federal sentence. Rodriguez v. Lamer, 60

F.3d 745, 747 (11th Cir. 1995) ("The Attorney General—acting through

the BOP—initially possesses the exclusive authority under the law of

this Circuit to compute sentence credit awards after sentencing.");

United States v. Roberson, 746 F. App'x 883, 885 (11th Cir. 2018)

("The Supreme Court has held that the responsibility for determining

sentence-credit awards lies with the Attorney General, through the

BOP, as opposed to district courts."). After                           Defendant has fully
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exhausted     his    administrative      remedies   with       the    BOP,    Defendant     may

mount a judicial challenge to the BOP's decision by filing a civil

action    under 28     U.S.C. § 2241 in the         district         and division     of    his

confinement. Fernandez v. United States, 941 F.2d 1488, 1495                            {11th

Cir.    1991);      United    States    v.    Gaynor,    No.    CR        406-014,   2016    WL

4030076, at *1 (S.D. Ga. July 26, 2016).

        Defendant alleges that he filed "an Administrative Remedy" with

the BOP which was denied. (Doc. 49 at 1.) However, Defendant has not

provided the Court with his administrative request or the subsequent

denial. Additionally, Defendant improperly filed this motion in his

criminal case, rather than in a civil action under 28 U.S.C. § 2241.

United States v. Spaulding, No. CR 612-017, 2020 WL 907873, at *1

(S.D.     Ga.       Feb.     25,     2020)    ("Regardless           of     any   exhaustion

requirements, . . . [defendant] must bring her claim for sentencing

credits    pursuant to        28    U.S.C. § 2241"). Accordingly,                 Defendant's

motion (Doc. 49) is DISMISSED to the extent it requests credit for

time served.


        SO ORDERED this            f ^ day of November 2020.



                                             WILLIAM T. MOORE, JR.
                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN   DISTRICT OF GEORGIA
